                                                              United States Bankruptcy Court
                                                                  District of New Mexico
In re:                                                                                                                 Case No. 21-11322-j
Joel Alan Gaffney                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1084-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Dec 02, 2021                                               Form ID: pdfquest                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 04, 2021:
Recip ID                  Recipient Name and Address
db                      + Joel Alan Gaffney, 4200 Montgomery Blvd NE Apt 208, Albuquerque, NM 87109-1154

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 04, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 2, 2021 at the address(es) listed
below:
Name                               Email Address
United States Trustee
                                   ustpregion20.aq.ecf@usdoj.gov

Yvette J. Gonzales
                                   yjgllc@yahoo.com yg@trustesolutions.net


TOTAL: 2




           Case 21-11322-kht7                  Doc 14          Filed 12/04/21              Entered 12/04/21 22:23:16 Page 1 of 3
                                                     U.S. Department of Justice
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                                                     Office of the United States Trustee, Region 20
                                                     Districts of Kansas, Oklahoma and New Mexico
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                                                        421 Gold Avenue, SW, Room 112
                                                       Albuquerque, New Mexico 87102     505/248-6544
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                   ATTENTION DEBTORS WITHOUT AN ATTORNEY


     SOME DEBTORS HAVE BEEN VICTIMIZED by unscrupulous practices on the part of
     those who assisted them in preparing their bankruptcy petitions. Sometimes these fraudulent
     petition preparers claim to be affiliated with religious groups, non-profit or charitable
     organizations or even the government. Occasionally they represent themselves to be attorneys or
     affiliated with attorneys. Once they gain their victims' trust, they may demand an excessively
     large sum of money to file a bankruptcy case. In many instances they direct victims to pay
     mortgage or rent payments over to them and then fail to pay the money to the creditors. Some
     victims have even been persuaded to transfer ownership of their homes, only to find themselves
     evicted shortly thereafter. Alternatively, a debtor may be inadvertently drawn into a fraudulent
     scheme where their schedules are falsified to include property that does not belong to the debtor.

     FEDERAL LAW REQUIRES all non-lawyers who assist debtors in the preparation of
     bankruptcy petitions to: (1) sign the bankruptcy documents; (2) provide their names, addresses,
     and social security numbers; (3) have debtors review all documents before they are signed; and (4)
     disclose any fees they have been paid or are still owed.

     FEDERAL LAW PROHIBITS petition preparers from: (1) providing legal advice; (2)
     signing their clients' names on documents; (3) collecting or receiving court filing fees; and (4) using
     the word "legal" in their advertisements.

     PETITION PREPARERS WHO VIOLATE THIS LAW MAY BE SUBJECT TO FINES,
     PENALTIES AND EVEN PAYMENT OF DAMAGES TO THE DEBTOR OF $2000 OR
     MORE. ALSO, IF THE PETITION PREPARER CHARGED MORE THAN THE VALUE OF
     THE SERVICES RENDERED, THE COURT MAY ORDER SOME OF THE MONEY
     REFUNDED.

     ATTACHED IS A STATEMENT FOR YOU TO COMPLETE AND SIGN BEFORE YOU
     MEET WITH YOUR CASE TRUSTEE. You may retain this information sheet for
     your future reference. PLEASE MAKE CERTAIN THAT YOUR ANSWERS ARE AS
     COMPLETE AND ACCURATE AS POSSIBLE. YOUR ANSWERS WILL ASSIST
     YOUR CASE TRUSTEE AND THE UNITED STATES TRUSTEE IN PROTECTING
     YOUR RIGHTS AS A DEBTOR.


     REV 8/2012




Case 21-11322-kht7          Doc 14      Filed 12/04/21      Entered 12/04/21 22:23:16 Page 2 of 3
                              QUESTIONNAIRE FOR DEBTORS WITHOUT AN ATTORNEY

Debtor's Name:________________________________________________               Case No.:___________________________

Debtor's Current Address: ______________________________________________________________________________

___________________________________________                 Debtor's Telephone No.: _____________________________

Name of Case Trustee: __________________________            Date of § 341(a) Meeting: ____________________________

1.      I paid someone to assist me in preparing my bankruptcy documents: YES ________ NO _______ OR

        I obtained bankruptcy documents or services from the Internet: YES ________ NO _______

(If no to the above questions, skip the rest of the questions and sign and date this document at the bottom).

2.      Information regarding petition preparer / Internet provider:

        Name:________________________________________________________________________________________

        Company: ___________________________________________ Telephone No.:_____________________________

        Address / Web site: ______________________________________________________________________________

3.      Amount paid :_________________ Date of payment:___________________________________________________

                 The amount I paid included the court filing fees Yes ____ No ______
                          if no, amount paid for filing fee: ___________________________
                 The filing fee was paid by: cash _____       check _____  money order _____    installments ______

                 Was the payment made payable to the U.S. Bankruptcy Court     Yes ____     No ____

4.      I was given a copy of petition and schedules before they were signed and filed.      YES ______       NO _______
5.      I did sign my own name on the petition and schedules.              YES _____ NO _______
6.      At any time did the petition preparer say or indicate that he/she was an attorney or working with an attorney?
        YES _____ NO ____
7.      The person who assisted me explained the difference between Chapter 7 and Chapter 13.
        YES _____ NO _____
8.      The person who assisted me explained what an exemption was. YES _____ NO _____
9.      I was directed to make my mortgage/rent payments to someone other than my creditor/landlord.
        YES____       NO _____
        The person I was directed to make payments to: ______________________________________________
11.     I was directed to transfer the title to my home. YES _____ NO _____
        The person I transferred title to is: ____________________________________________
12.     I was directed to put false information on my bankruptcy documents. YES ______            NO _____
        The false information is: ___________________________________________________________________
        ________________________________________________________________________________________.
13.     I was directed to say I had no assistance in preparing my documents. YES ________ NO _________
14.     I completed this document with the help of the bankruptcy petition preparer or someone from the preparer=s company.
        YES _____ NO ______

                           I declare under penalty of perjury that the foregoing is true and correct.

SIGNATURE: ______________________________________________ DATE:______________________

               ______________________________________________ DATE: ______________________


       PLEASE GIVE THIS COMPLETED DOCUMENT TO YOUR TRUSTEE AT YOUR CREDITORS MEETING
                 AND RETAIN THE ATTACHED LETTER FOR YOUR FUTURE REFERENCE.

                                                           Rev 8/2012




      Case 21-11322-kht7          Doc 14       Filed 12/04/21        Entered 12/04/21 22:23:16 Page 3 of 3
